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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

JOHN DOE,                                                     )
                                                              ) CIVIL ACTION
            Plaintiff,                                        )
v.                                                            )
                                                              )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                          )
BOARD OF TRUSTEES, MITCHELL ELIAS                             )
DANIELS, JR., individually and as agent for Purdue            )
University, ALYSA CHRISTMAS ROLLOCK,                          ) No. 2:17-cv-00033-JPK
individually and as agent for Purdue University,              )
KATHERINE SERMERSHEIM, individually and as                    )
agent for Purdue University, ERIN OLIVER, individually        )
and as agent for Purdue University, JACOB                     )
AMBERGER, individually and as agent for Purdue                )
University,                                                   )
                                                              )
              Defendants.                                     )


                VERIFIED MOTION FOR ISSUANCE OF A SUBPOENA

       Defendants, by counsel, respectfully request that this Court issue a subpoena, directing

nonparties United States Navy (“Navy”), Naval Reserve Officer Training Corps (“NROTC”),

and Purdue Naval Reserve Officer Training Corps (“Purdue NROTC”) to produce certain

documents known or believed to be in their possession.

Background

       Plaintiff alleges that he is a former Purdue University student and Purdue NROTC

Midshipman, and that in June 2016, he was suspended from Purdue University for one academic

year on account of Purdue’s investigation and determination of a sexual misconduct and

harassment allegation by a fellow Midshipman and Purdue Student (“Jane Doe”). On July 29,

2016, named-Defendant Vice President Alysa C. Rollock received an email from Purdue

NROTC Commander Craig Remaly. (Ex. A). In this communication, Commander Remaly

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informed Vice President Rollock that Purdue NROTC had “started our process to review

[Plaintiff’s] actions, but he is not responding to any of our attempts to contact him.” (Id.)

Commander Remaly also requested that Vice President Rollock provide “a copy of [Purdue’s]

decision regarding his appeal [of Purdue’s decision to suspend him] [.]” (Id.) He attached the

Plaintiff’s signed release of “all information pertaining to the investigation and corresponding

case concerning [Jane Doe] and [Plaintiff] . . . .” (Id.)

        Plaintiff repeatedly alleges in his Complaint — and in his appeal to Vice President

Rollock — that Purdue’s disciplinary findings caused him to lose his Purdue NROTC

scholarship and his position in Purdue NROTC. (Compl. at 29, ¶ 46; Ex. B). Plaintiff alleges in

his Complaint that he “involuntarily resigned,” (Compl. at 42, ¶ 72) and also describes himself as

a “now dismissed member of Navy ROTC.” (Id. at 1-2, ¶ 1). Additionally, Plaintiff alleges that

Purdue’s handling of this matter “jeopardize[d] John Doe’s . . . career serving his country,” (id.

at 60, ¶ 128), and cost him “military career opportunities.” (Id. at 52, ¶ 105; see also id. at 62, ¶

134).

        On March 31, 2017, the Parties filed their 26(f) Report of Parties’ Planning (Ex. D), and

the Defendants filed their Motion to Dismiss for Failure to State a Claim. On November 15,

2017, this Court granted the Defendants’ Motion and dismissed the Complaint in its entirety.

Plaintiff appealed.

        On appeal, the Seventh Circuit agreed with this Court that, for the purposes of a Due

Process claim, Plaintiff could not rely on a continuing interest in a post-secondary education, and

that Plaintiff failed to sufficiently plead facts to support a property interest on the basis of a

contract with the University. Doe v. Purdue University., 928 F.3d 652,659-60 (7th Cir. 2019).

However, because Plaintiff had alleged that Purdue’s investigation changed his legal status and



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prevented him from pursuing his naval career, the Court held that Plaintiff could proceed under a

due process theory that his liberty interest in that career choice had been deprived. Id. at 661-63.

       After the Seventh Circuit remanded this matter for further proceedings, Defendants’

undersigned Attorney Jones contacted the Navy General Counsel’s office to determine: (1)

whether it, the NROTC, or the Purdue NROTC was the custodian of any records pertaining to

the Plaintiff, and (2) whether it would comply with a request for production and subpoena duces

tecum issued by Defendants’ counsel. Attorney Jones was informed that the Purdue NROTC had

responsive documents but, pursuant 32 C.F.R. Part 725, because relevant documents in the

possession of the Navy, NROTC, or Purdue NROTC might implicate the Privacy Act of 1974,

the Family Educational Rights and Privacy Act, and/or the Health Insurance Portability and

Accountability Act, the Navy General Counsel’s office would require a release from the

Plaintiff, or a judge-executed subpoena, before it would comply with any request for documents.

       On July 19, 2019, Defense Attorneys Kealey and Jones and Plaintiff’s Attorney Byler

spoke about case management, including whether Plaintiff would be willing to execute a release

to obtain the Purdue NROTC’s records. Attorney Byler informed Attorneys Kealey and Jones

that he would consider it. One week later, on July 26, 2019, after not receiving a response from

Attorney Byler, Attorney Jones forwarded a Navy-approved form of Authorization and Release,

(Ex. C), to Attorney Byler, along with proposed non-party requests for production and subpoenas

duces tecum, to be served on the Navy with Plaintiff’s Authorization and Release. In response,

Attorney Byler did not agree to secure the requested release from his client, John Doe. Finally,

on August 14, 2019, Attorney Jones sent Attorney Byler a final request that he execute the

proposed release. (Ex. F). Attorney Jones advised Attorney Byler that he would file this motion

with the Court, if Attorney Byler would not obtain the release. (Id.). On August 15, 2019,



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Attorney Byler responded, and made it clear he would not do so.

  I.      Standard of Law

          A party may obtain discovery pertaining to

          any nonprivileged matter that is relevant to any party’s claim or defense and
          proportional to the needs of the case, considering the importance of the issues at
          stake in the action, the amount in controversy, the parties’ relative access to
          relevant information, the parties’ resources, the importance of the discovery in
          resolving the issues, and whether the burden or expense of the proposed discovery
          outweighs its likely benefit.

FED. R. CIV. P. 26(b)(1). What is “relevant” has historically been construed broadly, see

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978), and district courts have broad

discretion in supervising discovery, Hunt v. DaVita, Inc., 680 F.3d 775, 780 (7th Cir. 2012).

 II.      Argument

       A. The Documents at Issue are Relevant

          Through preliminary discussions with the Navy General Counsel’s Office, Defendants

believe that the Navy, NROTC, or Purdue NROTC have the following relevant documents: (1)

an investigation of the Plaintiff, concerning his alleged sexual assault of Jane Doe; (2) his service

record with the Purdue NROTC; (3) his student file, (4) a “disenrollment package,” and (5)

emails and statements from Plaintiff and Jane Doe. Those documents are key evidence.

          The Seventh Circuit found that Plaintiff could support his Due Process Claim by alleging

the deprivation of the liberty to pursue the career of his choice—service in the Navy:

          John’s failure to establish a property interest does not doom his claim, however,
          because he also maintains that Purdue deprived him of a protected liberty interest:
          his freedom to pursue naval service, his occupation of choice. To succeed on this
          theory, John must satisfy the “stigma plus” test, which requires him to show that
          the state inflicted reputational damage accompanied by an alteration in legal
          status that deprived him of a right he previously held. John argues that he has
          satisfied this test because he alleges that Purdue inflicted reputational harm by
          wrongfully branding him as a sex offender; that Purdue changed his legal status
          by suspending him, subjecting him to readmission requirements, and causing the

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       loss of his Navy ROTC scholarship; and that these actions impaired his right to
       occupational liberty by making it virtually impossible for him to seek
       employment in his field of choice, the Navy.

       ***

       . . . [Plaintiff] does not claim simply that he might someday have to self-publish
       the guilty finding to future employers. Instead, John says that he had an obligation
       to authorize Purdue to disclose the proceedings to the Navy. . . . In Dupuy, we
       held that the publication requirement of the stigma-plus test was satisfied when
       the plaintiffs were obligated to authorize a state agency to disclose its finding that
       they were child abusers to the plaintiffs’ current and prospective employers. In
       contrast to Olivieri, where disclosure was voluntary and speculative, it was
       compelled and certain in Dupuy. And in Dupuy, unlike in Olivieri, the disclosure
       was not self-published—it came from the defendant, even if the plaintiff had been
       obligated to authorize it. So too here: Purdue, not John, revealed to the Navy that
       it had found him guilty of sexual violence, and John had a legal obligation to
       authorize the disclosure.

       Thus, if what John says is true, the university has stigmatized him by telling the
       Navy about the guilty finding. But the loss of reputation is not itself a loss of
       liberty, “even when it causes ‘serious impairment of one’s future employment.’”
       John must also show that the stigma was accompanied by a change in legal status.

       ***

       John’s situation is unlike that of the plaintiffs in Paul v. Davis and Hinkle v. White
       because it is not a matter of state-spread rumors or an investigation that was
       ultimately dropped. After conducting an adjudicatory proceeding, Purdue
       formally determined that John was guilty of a sexual offense. That determination
       changed John’s status: he went from a full-time student in good standing to one
       suspended for an academic year. And it was this official determination of guilt,
       not the preceding charges or any accompanying rumors, that allegedly deprived
       John of occupational liberty. It caused his expulsion from the Navy ROTC
       program (with the accompanying loss of scholarship) and foreclosed the
       possibility of his re-enrollment in it. John has satisfied the “stigma plus” test.

Purdue, 928 F.3d at 661-63 (citations omitted).Thus, Plaintiff’s due process claim expressly

centers on deprivation of his liberty interest to pursue a career as member of the Navy.

       Plaintiff also alleges in his Complaint that he had a scholarship from the Purdue NROTC,

and future career opportunities, and that he lost these because of Purdue’s investigation.

Documentation memorializing the exact value and terms of his scholarship—such as documents

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likely in his “disenrollment package” and related emails—and the extent and nature of any career

opportunities with the Navy is vital to proving or defending against these damages.

       The Purdue NROTC’s student file and service record also likely contain information on

the specific dates John Doe entered into the program and his official status when he left. These

documents would be evidence of Plaintiff’s official status with the Purdue NROTC and whether

he in fact involuntarily or voluntarily resigned from the program, or whether he was dismissed.

Considering Plaintiff’s own variable account of his status with Purdue NROTC, (compare

Compl. at 42, ¶ 72 with Id. at 1-2, ¶ 1), there is good reason to seek the official account from the

Purdue NROTC itself.

       Finally, these documents will also confirm whether Purdue NROTC or the Navy had any

additional facts regarding John Doe’s interactions with Jane Doe.

       John Doe has opened the door to all of this evidence. Surely he has nothing to hide.

   B. The Circumstances Justify a Subpoena

       Plaintiff has positioned his status with the Purdue NROTC at the forefront of this case.

As early as March 31, 2017, Defendants notified the Plaintiff that they would need to conduct

discovery pertaining to this topic, specifically his “ROTC and military records,” as reflected in

the Rule 26(f) Report of Parties’ Planning Meeting. (See Ex. D).

       The pertinent Rule 26 factors justify the Court’s execution of this subpoena. See FED. R.

CIV. P. 26(b)(1). The Navy is the primary (and possibly only) entity with access to a complete set

of these particular documents, and without them the Defendants will have only Plaintiff’s

characterizations of his relationship and past dealings with the Navy and Purdue NROTC. These

documents are necessary to ensure that all parties may present and defend claims on an equal

footing. See, e.g., Does 1-5 v. City of Chicago, Case No. 18-cv-03054, 2019 WL 2173784 at *3



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(N.D. Ill. May 20, 2019) (finding that a discovery request was not overly burdensome, and

noting that Defendant was the only party with access to the requested information and that

Plaintiffs would not be able to seek the information from another source). Further, under hearsay

and best-evidence rules, testimony regarding the existence and contents of those documents may

be inadmissible.

                                            CONCLUSION

            For the reasons set forth above, Defendants respectfully request that this Court execute

the proposed subpoena (Ex. E), or otherwise issue its own subpoena incorporating the substance

of Defendants’ proposed subpoena.

                                           VERIFICATION

            I, Tyler L. Jones, attorney of record for Defendants in this cause, verify under oath that

the foregoing statements regarding my interactions with naval personnel and Plaintiff’s counsel

are true and correct.



                                                 Respectfully submitted,

                                                 /s/ Tyler L. Jones
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                                                 Tyler L. Jones (No. 34656-29)
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